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 In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS

**********************
TOM JANUS and BEATA                      *
WALERYCH JANUS on behalf                 *
of M.J.,                                 *
                                         *           No. 19-380V
                    Petitioners,         *           Special Master Christian J. Moran
                                         *
v.                                       *           Filed: June 30, 2022
                                         *
SECRETARY OF HEALTH                      *           Attorneys’ Fees and Costs
AND HUMAN SERVICES,                      *
                                         *
                    Respondent.          *
* * * * * * * * * * * * * * * * * * * ** *

Mark T. Sadaka, Law Offices of Sadaka Associates, LLC, Englewood, NJ, for
Petitioners;
Kimberly S. Davey, United States Dep’t of Justice, Washington, DC, for
Respondent.

                      UNPUBLISHED DECISION AWARDING
                        ATTORNEYS’ FEES AND COSTS1

       Pending before the Court is petitioners’ motion for final attorneys’ fees and
costs. They are awarded $31,002.80.



       1
          Because this published decision contains a reasoned explanation for the action in this
case, the undersigned is required to post it on the United States Court of Federal Claims' website
in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). This posting means the
decision will be available to anyone with access to the internet. In accordance with Vaccine Rule
18(b), the parties have 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the undersigned will
redact such material from public access.
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                                   *     *       *

      On March 12, 2019, petitioners filed for compensation on behalf of their
minor child, M.J., under the Nation Vaccine Injury Compensation Program, 42
U.S.C. §300aa-10 through 34. Petitioners alleged that the influenza vaccine M.J.
received on October 24, 2017, which is contained in the Vaccine Injury Table, 42
C.F.R. §100.3(a), caused her to suffer from or significantly aggravated her
autoimmune hepatitis. Petitioners filed medical records periodically throughout
2019 and respondent filed his report contesting entitlement on April 24, 2020.
Thereafter, petitioners tried to obtain a medical expert to file a report but were
unable to do so. On April 28, 2021, petitioners filed a motion for a decision
dismissing their petition. On May 17, 2021, the undersigned issued his decision
dismissing the petition for insufficient proof. 2021 WL 2935749.

       On July 16, 2021, petitioners filed a motion for final attorneys’ fees and
costs (“Fees App.”). Petitioners request attorneys’ fees of $30,333.69 and
attorneys’ costs of $3,169.11 for a total request of $33,502.80. Fees App. at 7.
Pursuant to General Order No. 9, petitioners have indicated that they have not
personally incurred any costs related to the prosecution of their petition. On August
9, 2021, respondent filed a response to petitioners’ motion. Respondent argues that
“[n]either the Vaccine Act nor Vaccine Rule 13 contemplates any role for
respondent in the resolution of a request by a petitioner for an award of attorneys’
fees and costs.” Response at 1. Respondent adds, however that he “is satisfied the
statutory requirements for an award of attorneys’ fees and costs are met in this
case.” Id at 2. Additionally, he recommends “that the Court exercise its
discretion” when determining a reasonable award for attorneys’ fees and costs. Id.
at 3. Petitioners filed a reply on August 9, 2021, reiterating their belief that the
requested fees and costs are reasonable.

                                   *     *       *

       Although compensation was denied, petitioners who bring their petitions in
good faith and who have a reasonable basis for their petitions may be awarded
attorneys’ fees and costs. 42 U.S.C. § 300aa-15(e)(1). In this case, although
petitioners’ claim was ultimately unsuccessful the undersigned finds that good
faith and reasonable basis existed throughout the matter. In finding that reasonable
basis supports the claim set forth in the petition, respondent’s statement that the
statutory elements “are met” greatly contributes to this outcome. Respondent also
has not challenged the reasonable basis of the claim. See Greenlaw v. United
States, 554 U.S. 237, 243 (2008) (“[W]e rely on the parties to frame the issues for
decision and assign to courts the role of neutral arbiter of matters the parties
                                             2
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present.”). A final award of reasonable attorneys’ fees and costs is therefore
proper in this case and the remaining question is whether the requested fees and
costs are reasonable.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs.
§15(e). The Federal Circuit has approved the lodestar approach to determine
reasonable attorneys’ fees and costs under the Vaccine Act. This is a two-step
process. Avera v. Sec’y of Health & Human Servs., 515 F.3d 1343, 1348 (Fed.
Cir. 2008). First, a court determines an “initial estimate … by ‘multiplying the
number of hours reasonably expended on the litigation times a reasonable hourly
rate.’” Id. at 1347-48 (quoting Blum v. Stenson, 465 U.S. 886, 888 (1984)).
Second, the court may make an upward or downward departure from the initial
calculation of the fee award based on specific findings. Id. at 1348. Here, because
the lodestar process yields a reasonable result, no additional adjustments are
required. Instead, the analysis focuses on the elements of the lodestar formula, a
reasonable hourly rate and a reasonable number of hours.

       In light of the Secretary’s lack of objection, the undersigned has reviewed
the fee application for its reasonableness. See McIntosh v. Secʼy of Health &
Human Servs., 139 Fed. Cl. 238 (2018)

      A.     Reasonable Hourly Rates

       Under the Vaccine Act, special masters, in general, should use the forum
(District of Columbia) rate in the lodestar calculation. Avera, 515 F.3d at 1349.
There is, however, an exception (the so-called Davis County exception) to this
general rule when the bulk of the work is done outside the District of Columbia
and the attorneys’ rates are substantially lower. Id. 1349 (citing Davis Cty. Solid
Waste Mgmt. and Energy Recovery Special Serv. Dist. v. U.S. Envtl. Prot.
Agency, 169 F.3d 755, 758 (D.C. Cir. 1999)). In this case, all the attorneys’ work
was done outside of the District of Columbia.

       Petitioners request the following rates of compensation for the work of their
counsel, Mr. Mark Sadaka: $396.00 per hour for work performed in 2018, $405.00
per hour for work performed in 2019, $422.00 per hour for work performed in
2020, and $444.00 per hour for work performed in 2021. The undersigned has
reviewed the requested rates and finds them to be reasonable and consistent with
what special masters have previously awarded to petitioners’ counsel for his
Vaccine Program work. See, e.g. Rose v. Sec’y of Health & Human Servs., No.
17-1770V, 2021 WL 3053035 (Fed. Cl. Spec. Mstr. Jun. 28, 2021). Accordingly,
the requested hourly rates are reasonable.

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      B.     Reasonable Number of Hours

      The second factor in the lodestar formula is a reasonable number of hours.
Reasonable hours are not excessive, redundant, or otherwise unnecessary. See
Saxton v. Sec’y of Health & Human Servs., 3 F.3d 1517, 1521 (Fed. Cir. 1993).
The Secretary also did not directly challenge any of the requested hours as
unreasonable.

       The undersigned has reviewed the submitted billing entries and finds the
request to be reasonable. The billing entries contain sufficient detail to permit the
undersigned to assess their reasonableness, and upon review none appear to be
objectionable. Respondent also has not indicated that he finds any of the billing
entries to be objectionable. Therefore, petitioners are awarded final attorneys’ fees
in the amount of $30,333.69.

      C.     Costs Incurred

      Like attorneys’ fees, a request for reimbursement of costs must be
reasonable. Perreira v. Sec’y of Health & Human Servs., 27 Fed. Cl. 29, 34 (Fed.
Cl. 1992), aff’d, 33 F.3d 1375 (Fed. Cir. 1994). Petitioners request a total of
$3,169.11 in attorneys’ costs. This amount is comprised of acquiring medical
records, the Court’s filing fee, postage, and a retainer paid to a potential medical
expert, Dr. M. Eric Gershwin, who reviewed medical records and communicated
with counsel.

      Neither a retainer nor a single-line invoice evidences the work Dr. Gershwin
performed. See Guidelines for Practice Under the National Vaccine Injury
Compensation Program, Section X. Chapter 3. ¶ A (“With regard to attorneys’ fees
and experts’ fees, the particular tasks for which fees are claimed, the amount of
time spent on that task, the person who performed the task, and that person’s billed
hourly rate must be identified in contemporaneous, dated records.”); see also Dahl
v. Sec’y of Health & Hum. Servs., No. 13-98V, 2018 WL 6818741, at *8 (Fed. Cl.
Spec. Mstr. Nov. 30, 2018). Experts are expected to list the amount of time they
spent on particular activities. See Caves v. Sec’y of Health & Human Servs., 111
Fed. Cl. 774, 781-83 (2013); Morse v. Sec’y of Health & Human Servs., 89 Fed.
Cl. 683 (2009).

      Without some information from Dr. Gershwin, the undersigned cannot
evaluate whether his proposed hourly rate is reasonable and cannot determine



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whether the number of hours he spent is reasonable.2 Accordingly, due to the
deficiency in the submission regarding Dr. Gershwin’s work, this requested item
cannot be allowed.

       The remaining expenses are reasonable and shall be fully reimbursed.

               E.     Conclusion

      The Vaccine Act permits an award of reasonable attorney’s fees and costs.
42 U.S.C. § 300aa-15(e). Accordingly, I award a total of $31,002.80 (representing
$30,333.69 in attorneys’ fees and $669.11 in attorneys’ costs) as a lump sum in the
form of a check jointly payable to petitioners and their counsel, Mr. Mark Sadaka.

       In the absence of a motion for review filed pursuant to RCFC Appendix B,
the clerk of the court is directed to enter judgment herewith.3


               IT IS SO ORDERED.


                                                            s/Christian J. Moran
                                                            Christian J. Moran
                                                            Special Master




       2
         Petitioners and any expert witness whom they retained were alerted about the need for
an “informative and detailed invoice.” Instructions for Expert Witnesses, issued May 20, 2020,
at 6.
       3
          Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a
joint notice renouncing their right to seek review.

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